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USCA4 Appeal: 25-1519

UNITED STATES COURT OF APPEALS FOR THE FOURTH CIRCUIT
DOCKETING STATEMENT--CIVIL/AGENCY CASES

Directions: Counsel must make a docketing statement (civil/agency) filed entry in CM/ECF
within 14 days of docketing of the appeal, or within the due date set by the clerk’s docketing notice,
whichever is later. File with the entry the (1) docketing statement form with any extended answers
and (2) any transcript order form. Parties proceeding pro se are not required to file a docketing
statement. Opposing counsel who finds a docketing statement inaccurate or incomplete may file any
objections within 10 days of service of the docketing statement using the ECF event-docketing

statement objection/correction filed.

Appeal No. & Caption 25-1519, J.O.P, et al. v. U.S. Dep't of Homeland Security, et al.

Originating No. & Caption |8:19-cv-01944, J.O.P, et al. v. U.S. Dep't of Homeland Security

Originating Court/Agency |U.S. District Court for the District of Maryland

Jurisdiction (answer any that apply)

Statute establishing jurisdiction in Court of Appeals

'|28 U.S.C. § 1291

Time allowed for filing in Court of Appeals 60 days

Date of entry of order or judgment appealed April 23, 2025

Date notice of appeal or petition for review filed May 7, 2025

If cross appeal, date first appeal filed

Date of filing any post-judgment motion May 4, 2025

Date order entered disposing of any post-judgment motion | May 6, 2025

Date of filing any motion to extend appeal period

Time for filing appeal extended to

Is appeal from final judgment or order? © Yes © No

If appeal is not from final judgment, why is order appealable?

calling the Office of the Circuit Mediator at 843-731-9099.)

Settlement (The docketing statement is used by the circuit mediator in pre-briefing review and
mediation conducted under Local Rule 33. Counsel may make a confidential request for mediation by

Is settlement being discussed? © Yes

© No

1/28/2020 SCC

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Transcript (transcript order must be attached if transcript is needed and not yet on file)

Is transcript needed for this appeal? © Yes C No
Has transcript been filed in district court? © Yes © No
Is transcript order attached? © Yes © No

Case Handling Requirements (answer any that apply)

Case number of any prior appeal in same case

21-1187

Case number of any pending appeal in same case

Identification of any case pending in this Court or

Supreme Court raising similar issue

If abeyance or consolidation is warranted,
counsel must file an appropriate motion.

Is expedited disposition necessary?

© Yes

C No

If yes, motion to expedite must be filed.

Is oral argument necessary? © Yes C No
Does case involve question of first impression? @ Yes © No
Does appeal challenge constitutionality of federal | C Yes © No
or state statute in case to which federal or .

If yes, notice re: challenge to

state government is not a party

constitutionality of law must be filed.

Nature of Case (Nature of case and disposition below. Attach additional page if necessary.)

On November 25, 2024, the district court entered final approval of a class-wide settlement
agreement, resolving the parties’ litigation surrounding USCIS's 2019 Redetermination Memo
governing how U.S. Citizenship and Immigration Service ("USCIS") determined its initial
jurisdiction over the asylum applications of unaccompanied alien children ("UAC") under 8
U.S.C. § 1158(b)(3)(C). In addition to specifying how USCIS would adjudicate class member
asylum applications moving forward, as part of the agreement Defendants agreed to not
execute the "final removal order" of a class member until USCIS issued a final determination
on the class member's pending asylum application.

On March 18, 2025, a class member, Cristian (proceeding under pseudonym) was removed to
El Salvador pursuant to the Alien Enemies Act ("AEA"), 50 U.S.C. § 21, and Presidential
Proclamation 10,903, as a Venezuelan citizen 14 years of age or older who is a member of
Tren De Aragua. Despite the litigation and settlement agreement not addressing removal
under the AEA, class counsel alleged this was a violation of the settlement agreement and
filed a Motion to Enforce the Settlement Agreement on April 14, 2025.

(continued on attached additional pages)

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Issues (Non-binding statement of issues on appeal. Attach additional page if necessary)

1. Whether the district court erred when it found that it had jurisdiction to review Cristian's
removal pursuant to the Alien Enemies Act, 50 U.S.C. § 21, and order the Government to

"facilitate" his return?

2. Whether the district court erred in concluding that the portion of the Settlement Agreement,
barring execution of a Class Member's final removal order until USCIS issues a decision of
said Class Member's asylum application extended to removal under the Alien Enemies Act,

50 U.S.C. § 217

3. Whether the district court erred in concluding that it remained equitable to order the
Government to "facilitate" Cristian's return even though USCIS affirmatively stated the asylum
application would be denied and in light of the constitutional implications in compelling the
Executive Branch to engage in the necessary foreign policy to do so and the practical

difficulties in doing so?

Adverse Parties (List adverse parties to this appeal and their attorneys; provide party’s address if the
party is not represented by counsel. Attach additional page if necessary.)

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Date: 5/21/2025

Counsel for: Appellants

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commercial carrier; or |__| email (with written consent) on the following persons at the

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Date:

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United States Court of Appeals For the Fourth Circuit
Docketing Statement -CIVIL/AGENCY CASES
(additional pages)
25-1519, JO.P. et al., v. U.S. Department of Homeland Security, et al.
Nature of Case (continued)

On April 23, 2025, the district court entered a memorandum opinion and order
granting Class Counsel’s Motion to Enforce the Settlement Agreement. The district
court ordered the Government |) not to remove from the United States members of
the certified class, as defined in the settlement agreement, until USCIS adjudicated
a Class Member’s asylum application on the merits; and 2) to facilitate Cristian’s,
the class member removed pursuant to the AEA, return to the United States to
await adjudication of his asylum application on the merits by USCIS under the
terms of the settlement agreement. The Order went on to define “facilitation” to
include a good faith request by Defendants to the government of El Salvador to
release Cristian to U.S. custody for transport back to the United States. On May 4,
2025, the Government filed a Motion to Vacate the portion of the Court’s order
requiring the Government to facilitate Cristian’s return to the United States on the
grounds that it was no longer equitable to do so in light of an Indicative Asylum
Decision from USCIS stating it would deny Cristian’s asylum application should
he be returned to the United States. On May 6, 2025, the district court denied the
Government’s Motion to Vacate, but stayed its order for 48 hours to permit the
Government time to seek further stay pending appeal of the April 23, 2025 Order
from the Fourth Circuit.

Adverse Parties (continued)

Adverse Party: Adverse Party:

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